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                 Exhibit E
                 Kayla Lewis et. al.
                         v.
       Government of the District of Columbia
          Civil Action No.: 15-352 (RBW)
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           SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                        CRIMINAL DIVISION



 - - - - - - - - - - - - - - - x
                               :
 DISTRICT OF COLUMBIA          :                Docket Number: 2012 CTF 006596
                               :
           vs.                 :
                               :
 MARY FRANCES JACKSON,         :
                               :
           Defendant.          :
                               :                Wednesday, April 18, 2012
 - - - - - - - - - - - - - - - x                Washington, D.C.


            The above-entitled action came on for a hearing

 before the Honorable KAREN HOWZE, Associate Judge, in

 Courtroom Number C-10.



                   APPEARANCES:

                   On Behalf of the Government:

                   UNIDENTIFIED

                   On Behalf of the Defendant:

                   TIMOTHY CLAYMORE, Esquire
                   Washington, D.C.




                                                                         21-00199



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     1                          P R O C E E D I N G S

     2                THE DEPUTY CLERK:     Okay, ma'am, can you state

     3     your name for the record?

     4                MS. JACKSON:    Mary Jackson.

     5                THE DEPUTY CLERK:     This is DCL 4 from

     6     yesterday, continued today for a Gerstein perfection.

     7     This is 2012 CTF 006596.

     8                MR. CLAYMORE:    Yes, good morning, Your Honor,

     9     Timothy Claymore, the attorney, I believe the Court

     10    appointed counsel in this matter, Mr. Hairston should be

     11    representing her.

     12               THE COURT:    Is that what the system shows?

     13               THE DEPUTY CLERK:     Yes, Mr. Hairston was here

     14    yesterday, he's not here today.

     15               THE COURT:    All right, so you would need to

     16    stand in for him today, counsel.

     17               MR. CLAYMORE:    Very well, Your Honor.

     18               THE DEPUTY CLERK:     Does the Government have the

     19    perfected Gerstein?

     20               GOVERNMENT ATTORNEY:     Yes, Your Honor, I am

     21    providing defense with the perfected Gerstein as well as

     22    a copy to Your Honor.

     23               MR. CLAYMORE:    Your Honor, since I wasn't

     24    counsel of record yesterday, can the Court apprise

     25    counsel of what the issue was yesterday with the


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     1     Gerstein?

     2                 GOVERNMENT ATTORNEY:    The Gerstein wasn't

     3     signed yesterday.

     4                 THE COURT:   It wasn't signed.

     5                 MR. CLAYMORE:   Very well, Your Honor.

     6                 GOVERNMENT ATTORNEY:    Your Honor, we renew our

     7     request for an A(1)(c) hold.

     8                 THE COURT:   All right, the issue wasn't the

     9     Gerstein was not, a signed affidavit it required.        Have

     10    you had a chance to review the affidavit for probable

     11    cause?

     12                MR. CLAYMORE:   I'm reviewing that now, Your

     13    Honor.    I'll submit on the probable cause issue at this

     14    time, Your Honor.

     15                THE COURT:   Okay, do we have a -- hold on, hold

     16    on, slow the role.     Do we have a Pretrial report?

     17                THE DEPUTY CLERK:    No, there was not one

     18    submitted yesterday, Your Honor.

     19                THE COURT:   All right, does everybody else have

     20    a copy?

     21                GOVERNMENT ATTORNEY:    I am not sure.

     22                THE COURT:   All right, can you pass this to

     23    counsel.

     24                THE DEPUTY CLERK:    Yes.

     25                THE COURT:   Government was asking for an


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     1     A(1)(c).   Any argument on the A(1)(c) request?

     2                MR. CLAYMORE:    I can indicate, I gleamed from

     3     the record reading that she's on probation.        The Court

     4     can release her and order her to report directly to her

     5     probation officer, Ms. Combs.      I see that she has a

     6     verified address in the District of Columbia.          I do not

     7     see any BRAs, meaning any risk of flight.       I do

     8     understand that from reading this, that there was a show

     9     cause issued at one time for a drug test and infractions,

     10    however at the bottom it indicates that she was enrolled

     11    in a residential treatment program, and was scheduled to

     12    be released on 4-4-12.     PSA didn't verify it, but I can

     13    submit to the Court that based on this information, at

     14    least she was enrolled as the Court ordered her to, and

     15    enrolled in the residential treatment program.         I would

     16    suggest that as the Court issued a show cause before, it

     17    wouldn't be necessary to hold this individual for the

     18    Court to issue a show cause.      Her address has been the

     19    same for two years.     The Court can send her notice.      It's

     20    represented in this Pretrial Services Report that the

     21    last time there was a show cause order issued, that she

     22    did show up to court.     So, this is an individual that

     23    will take that responsibility diligently.       I'd ask the

     24    Court to release her.     Judge McCabe's chambers can be

     25    notified, and if they wish to set a show cause, can so do


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     1    it.

     2                 THE COURT:    Okay, anything from the Government?

     3                 GOVERNMENT ATTORNEY:    Your Honor, the

     4    Government    would renew its request and argue that

     5    defendant is a danger to the community.      As stated in the

     6    Pretrial Report, she has continued to test positive for

     7    illegal substances.       She's on probation for driving under

     8    the influence, and in this case, Your Honor, has been

     9    arrested again for in fact, driving under the influence

     10   of alcohol.    We'd ask that Your Honor grant the hold.

     11                THE COURT:    All right, the Court's reviewed the

     12   Pretrial Services Report, and the Court sees that she has

     13   not been in compliance after release from the residential

     14   treatment, which we don't know whether she completed it

     15   or not.   She was to continue treatment, and also have

     16   been ordered not to drive.       This charge includes a

     17   driving offense.    Hearing will be on, what's today,

     18   Wednesday, Tuesday, next Tuesday.

     19                THE DEPUTY CLERK:    Yes, Your Honor.

     20                MR. CLAYMORE:    Very well, Your Honor.

     21                THE DEPUTY CLERK:    All right, ma'am, in this

     22   matter, you will be held without bond until Tuesday,

     23   April 24th, this will be at 11:00, in courtroom 115.

     24                MR. CLAYMORE:    And that will be Judge McCabe's

     25   courtroom?


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     1              THE DEPUTY CLERK:     No, 115, going before Judge

     2   Ringell for the detention hearing.

     3              MR. CLAYMORE:     Very well, thank you.

     4              (Thereupon, the proceedings were concluded.)

         √   Digitally signed by Pat Purnell



                              ELECTRONIC CERTIFICATE

                    I, Pat Purnell, transcriber, do hereby certify

         that I have transcribed the proceedings had and the

         testimony adduced in the case of DISTRICT OF COLUMBIA V.

         MARY FRANCES JACKSON, Case No. 2012 CTF 006596 in said

         Court, on the 18th day of April 2012.

                    I further certify that the foregoing 5 pages

         constitute the official transcript of said proceedings as

         transcribed from audio recording to the best of my

         ability.

                    In witness whereof, I have hereto subscribed my

         name, this 18th day of February 2021.




                                               Transcriber


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